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                   EXHIBIT D
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   Decision No. 17,830
                     Appeal of S.G., on behalf of his son M.G., from action of the Board of Education of the Franklin
                     Square Union Free School District regarding immunization.

                                                            Decision No. 17,830

                                                              (April 13, 2020)

            Law O ces of Thomas M. Volz, PLLC, attorneys for respondent, David H. Arntsen, Esq., of counsel

   TAHOE., Interim Commissioner.--Petitioner appeals the determination of the Board of Education of the
   Franklin Square Union Free School District that his son, M.G. (“the student”), is not entitled to a medical
   exemption from the immunization requirements of Public Health Law (“PHL”) §2164. The appeal must be
   dismissed.

   At all times relevant to this appeal the student attended respondent’s schools. Previously, the student
   received a religious exemption from the immunization requirements of PHL §2164. At the time, PHL §2164
   included provisions authorizing an exemption to required immunizations based on religious beliefs. On June
   13, 2019, however, the Legislature enacted Chapter 35 of the Laws of 2019, e ective immediately, which
   repealed subdivision nine of PHL §2164, thus eliminating the religious exemption.[1]

   Thereafter, on or about August 12, 2019, petitioner submitted a completed New York State Department of
   Health (“DOH”) form titled “Immunization for School Requirements – Medical Exemption Statement for
   Children 0-18 Years of Age,” signed by the student’s pediatrician and dated August 12, 2019, seeking a
   medical exemption for the student from the immunization requirements of PHL §2164. Therein, the
   student’s physician declared that the student required a medical exemption from all required
   immunizations: (1) haemophilus in uenzae type b (Hib), (2) polio (IPV or OPV); (3) hepatitis B (Hep B); (4)
   tetanus, diphtheria, pertussis (DTaP, DTP, Tdap); (5) measles, mumps, and rubella (MMR); (6) varicella
   (chickenpox); (7) pneumococcal conjugate vaccine (PCV); and (8) meningococcal vaccine (MenACWY). In a
   section of the form asking the physician to “describe the patient’s contraindication(s)/precaution(s),” the
   physician wrote:

                     [M.G.], according to review of his medical records[,] following his 6 mo vaccinations
                     [d]eveloped seizures. He was hospitalized for this while he underwent evaluation. There is no
                     evidence to prove that these seizures were not caused by these vaccines that he received at
                     that visit. His parents are aware that by not completing his immunizations series [h]e is at
                     [r]isk for contracting these illnesses should [h]e be exposed to them.

   In a section of the form inquiring as to the “[d]ate exemption ends (if applicable),” the physician wrote: “Life
   Time.”

   By letter dated August 22, 2019, respondent’s superintendent informed petitioner that the district’s physician
   had reviewed the medical exemption request and “ha[d] advised that there [were] no medically recognized
   contraindications for immunizations for [the student], with the exception of Tdap.”[2] The superintendent
   further indicated that the district was “unable to accept [petitioner’s] request for [a] medical exemption.”[3]
   This appeal ensued. Petitioner’s request for interim relief was denied on September 17, 2019.

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   Petitioner contends that the student has a “clear medical reason” for not obtaining immunizations.
   Speci cally, petitioner avers that the student “was administered a series of vaccinations” at six months old
   and, “[s]hortly thereafter, at only [eight] months old, [the student] began su ering from grand mal seizures.”
    Petitioner asserts that, since then, the student has not been vaccinated and “has su ered ... further
   seizures.” Petitioner contends that the student’s reaction to vaccination as an infant “clearly shows that
   forcing vaccinations/immunizations will do far more harm than good.” Further, petitioner argues that it
   would be “inappropriate for anyone other than the [student’s] treating provider to determine” whether he
   should receive a medical exemption. For relief, petitioner requests that the April 12, 2019 request for a
   medical exemption “be granted in its entirety” so that the student “may continue to attend school” within
   respondent’s district.

   Respondent argues that the appeal must be dismissed for improper service. Respondent further contends
   that petitioner has failed to meet his burden of proving that a medical exemption should be granted.

   The appeal must be dismissed for improper service. Section 275.8(a) of the Commissioner’s regulations
   requires that the petition be personally served upon each named respondent. If a school district is named
   as a respondent, service upon the school district shall be made personally by delivering a copy of the petition
   to the district clerk, to any trustee or any member of the board of education, to the superintendent of
   schools, or to a person in the o ce of the superintendent who has been designated by the board of
   education to accept service (8 NYCRR §275.8[a]; Appeal of B.H., 57 Ed Dept Rep, Decision No. 17,246; Appeal
   of Peterson, 48 id. 530, Decision No. 15,939). Here, petitioner’s a davit of service states that the petition
   was served on Maura Gallagher, who is identi ed as respondent’s “Assistant Superintendent.” Ms. Gallagher
   attests in an a davit that she is employed as respondent’s assistant superintendent of curriculum and
   instruction and, as such, is not authorized to accept service on behalf of respondent pursuant to 8 NYCRR
   §275.8[a]. Petitioner submits no reply or other evidence to refute respondent’s claim of improper service.
    Accordingly, I nd that petitioner has not e ected proper service upon respondent, and the appeal must be
   dismissed (Appeal of a Student with a Disability, 59 Ed Dept Rep, Decision No. 17,670; Appeals of L.A. and
   V.A., 57 id., Decision No. 17,424; Application of a Student with a Disability, 57 id., Decision No. 17,391).

   Even if the appeal were not dismissed for improper service, it would be dismissed on the merits. PHL §2164
   generally requires that children between the ages of two months and eighteen years be immunized against
   certain diseases and provides that children may not attend school in the absence of acceptable evidence that
   they have been immunized. The law provides an exception to immunization: immunization is not required if
   a licensed physician certi es that immunization may be detrimental to a child’s health (PHL §2164[8]).
   Speci cally, PHL §2164(8) provides:

                     If any physician licensed to practice medicine in this state certi es that such immunization
                     may be detrimental to a child’s health, the requirements of this section shall be inapplicable
                     until such immunization is found no longer to be detrimental to the child’s health.

   In August 2019, DOH amended the de nition of the phrase “[m]ay be detrimental to the child’s health,” as set
   forth in its regulations, to mean:

                     that a physician has determined that a child has a medical contraindication or precaution to a
                     speci c immunization consistent with ACIP guidance or other nationally recognized evidence-
                     based standard of care (10 NYCRR §66-1.1[l]).

   In an appeal to the Commissioner, a petitioner has the burden of demonstrating a clear legal right to the
   relief requested and the burden of establishing the facts upon which petitioner seeks relief (8 NYCRR
   §275.10; Appeal of P.C. and K.C., 57 Ed Dept Rep, Decision No. 17,337; Appeal of Aversa, 48 id. 523, Decision
   No. 15,936; Appeal of Hansen, 48 id. 354, Decision No. 15,884).



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   On this record, petitioner has not met his burden of proving that the student is entitled to a medical
   exemption. As indicated above, in order to prove that a particular vaccination “[m]ay be detrimental to the
   child’s health,” a physician must determine “that a child has a medical contraindication or precaution to a
   speci c immunization consistent with ACIP guidance or other nationally recognized evidence-based standard
   of care” (10 NYCRR §66-1.1[l]). Here, the student’s physician did not speci cally identify any contraindication
   or reference the ACIP guidance at all in the medical exemption request form. Instead, the student’s
   physician indicated only that “there [was] no evidence to prove that [the student’s] seizures were not caused
   by [the] vaccines that he received at [six months old].” Notably, the physician did not assert that the
   immunizations did in fact cause the student’s seizures, and the absence of evidence to disprove causation
   does not constitute proof of causation (see Appeal of P.K., 59 Ed Dept Rep, Decision No. 17,802). Petitioner
   bears the burden of proof in this appeal to demonstrate the student’s entitlement to a medical exemption;
   however, petitioner has not provided any proof to establish that the student has a “contraindication or
   precaution” to each of the required immunizations “consistent with ACIP guidance or other nationally
   recognized evidence-based standard of care” (10 NYCRR §66-1.1[l]). Therefore, while I am empathetic to
   petitioner’s concerns and the student’s circumstances, given the plain language of 10 NYCRR §66-1.1(l), I am
   constrained to nd that petitioner has failed to meet his burden of proof. Consequently, the appeal must be
   dismissed (see Appeal of P.K., 59 Ed Dept Rep, Decision No. 17,802; Appeal of J.S. and D.S., 55 id., Decision
   No. 16,821; Appeal of D.F., 50 id., Decision No. 16,132).

   THE APPEAL IS DISMISSED.

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   [1] PHL §2164(7)(a), as also amended by Chapter 35 of the Laws of 2019, provides that “[n]o principal,
   teacher, owner or person in charge of a school shall permit any child to be admitted to such school, or to
   attend such school, in excess of fourteen days, without [a certi cate of immunization] or some other
   acceptable evidence of the child's immunization against poliomyelitis, mumps, measles, diphtheria, rubella,
   varicella, hepatitis B, pertussis, tetanus, and, where applicable, Haemophilus in uenzae type b (Hib),
   meningococcal disease, and pneumococcal disease; provided, however, such fourteen day period may be
   extended to not more than thirty days for an individual student by the appropriate principal, teacher, owner
   or other person in charge where such student is transferring from out-of-state or from another country and
   can show a good faith e ort to get the necessary certi cation or other evidence of immunization or where
   the parent, guardian, or any other person in parental relationship to such child can demonstrate that a child
   has received at least the rst dose in each immunization series required by this section and has age
   appropriate appointments scheduled to complete the immunization series according to the Advisory
   Committee on Immunization Practices [(ACIP)] Recommended Immunization Schedules for Persons Aged 0
   through 18 Years.”



   [2] Although unclear from this letter, it appears from the record that respondent granted the student a
   medical exemption with respect to Tdap. Therefore, references throughout this decision to the vaccinations
   that the student requires do not include Tdap.



   [3] Although the superintendent’s August 22, 2019 letter denying the request for a medical exemption does
   not indicate that the student would be excluded from school as a result thereof, it appears from the petition
   that petitioner was otherwise advised that the student would be excluded from respondent’s schools if he
   did not receive the required immunizations within the 14-day period prescribed by PHL §2164. The e ective
   date of the student’s exclusion from school is unclear from the record.
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